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                                        IN THE UNITED STATES DISTRICT COURT
               7
                                        FOR THE NORTHERN NIARIANA ISLANDS
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                    RANDALL 'r. FENNELL,                  )     C i d Action No. 09-0019
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                                                          1
               12                        Plaintiff        )
                                                          1
               13                  V.                     )     ORDER AFTER
                                                          )     STATUS CONFERENCE
               14
                    MATTHEW T. GREGORY, etal.,            )     WITH PARTIES AND
               15                                         )     PROPOSED INTERVENOR
               16                        Defendants       )

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                          THE COURT convened a status conference in chambers on short notice
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               19   yesterday, September 1,2009. Present were Mark B. Hanson on behalf of plaintiff;
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                    Commonwealth Assistant Attorney General Braddock J. Huesman on behalf of
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                    defendants; and, Wdham M. Fitzgerald, Kathleen V. Fisher, and Maya Sinclair on
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               23   behalf of proposed intervenor, Bank of Saipan.
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                1         After discussion with the parties and further review of the fhngs in thls matter
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                    and the fhngs of the proposed intervenor,
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                4
                          IT IS ORDERED that:

                5         1. Defendants’ motion to dismiss shall proceed as scheduled on Thursday,
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                    September 10,2009; and,
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                e         2. Proposed intervenor’s motion to shorten time is denied; and,

                s         3. If necessary, proposed intervenor’s motion to intervene shall be scheduled
               IC
                    according to the court’s local rules after the order has issued on defendants’ pending
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               1i
                    motion to dismiss; and,

               1:         4. Depending on the outcome of the motion to intervene, proposed
               1L
                    intervenor’s motion to dismiss or, in the alternative, to stay proceedings, wdl be set
               I!
                    for hearing according to the court’s local rules.
               If

               1;         DATED thls 2“dday of September, 2009.
               It

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                                                                        ALEXR. MIJNSON
               2’                                                             Judge
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               2:

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